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                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
BRUCE J. REID,
                 Plaintiff,                                         Index No.: 20-cv-01817w
         -vs-
JONATHAN S. SACK, MICHAEL H. MUI, and                               COMPLAINT
SACK & SACK, LLP

                  Defendants
----------------------------------------------------------------x

         Bruce J. Reid (“Reid”), as and for his Complaint against Defendants Jonathan S. Sack

(“Sack”), Michael H. Mui (“Mui”) and Sack & Sack, LLP (the “Sack Firm” and collectively with

Sack and Mui, “Defendants”), hereby alleges as follows:

                                              INTRODUCTION

         1.      The Sack Firm purports to be a “premiere” New York law firm representing

“executives, managers and sales professionals” in actions against their employers. As the Sack

Firm’s co-founder and equity partner, Defendant Jonathan S. Sack supposedly has “20+ years of

demonstrated results” and “live[s] and breathe[s]” his cases by a “personal mantra: Each client is

treated like they are my first, last and only client.” Defendant Michael H. Mui is Sack’s so-called

“protégé” who has purportedly “built a formidable reputation in the legal profession representing

employees, executives and partners of all levels in all areas of employment law against the most

reputable firms worldwide.”

         2.      In 2015, Plaintiff Reid retained Defendants to represent him in a multi-million

dollar wrongful termination action against his former employer. Despite their supposed stellar

reputation and experience, Defendants proceeded to deceive and defraud Reid over the next five

years about virtually every aspect of their purported prosecution of his case. They falsely told


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Reid they had commenced a proceeding before FINRA months before it was actually filed. They

concocted stories of supposed conversations with FINRA officials when FINRA declined to hear

Reid’s claim. They fabricated bogus excuses to explain delays encountered in prosecuting Reid’s

case caused solely by their inaction and inattentiveness. They falsely told Reid they had filed a

complaint in New York state court when they did not. They invented purported discovery requests

they never served and sanctions motions they filed. And they fabricated a court conference they

supposedly attended that never took place.

         3.    When Reid discovered the fraud in early February 2020, he immediately discharged

Sack, Mui and the Sack Firm. By then, the damage had been done. Statutes of limitations on

claims Reid could have asserted have expired, and relief Reid could have secured is no longer

available. This is to say nothing of the severe distress Reid has suffered by virtue of Defendants’

outrageous and dishonest conduct. Accordingly, Plaintiff brings this action to recover the loss,

damage and injury he has sustained -- and will continue to sustain -- as a direct and proximate

result of Defendants’ actions.

                                             PARTIES

         4.    Plaintiff Reid, during part of the time relevant to the events set forth below, was a

resident of New Jersey. Reid currently resides in South Carolina.

         5.    Defendant Sack is a resident of New York, NY. Upon information and belief, Sack

is a founding member, equity owner and partner of the Sack Firm, and, as such, had management

responsibility over the lawyers of the Sack Firm and supervisory authority over Defendant Mui.

Under New York’s Rules of Professional Conduct (the “Rules”), a lawyer with management

responsibility in a law firm shall make reasonable efforts to ensure that other lawyers in the law




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firm conform to the Rules. Similarly, a lawyer with direct supervisory authority over another

lawyer shall make reasonable efforts to ensure that the supervised lawyer conforms to the Rules.

         6.     Defendant Mui is a resident of Port Washington, New York. Upon information and

belief, Mui is an associate or partner of the Sack Firm.

         7.     Defendant the Sack Firm is a New York Limited Liability Company. The Sack

Firm’s offices are located at 70 East 55th Street, New York, NY.

                                 JURISDICTION AND VENUE

         8.     Federal diversity jurisdiction exists pursuant to 28 U.S.C. § 1332 as Plaintiff and

Defendants are residents of different states. Therefore, complete diversity of citizenship exists.

The amount in controversy, exclusive of interest and costs, exceeds the sum or value of $75,000

         9.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(a)(1) and (2) as many

of the substantial acts giving rise to the events and omissions described in this Complaint occurred

within this District.

                                             FACTS

Reid’s Employment With ICAP

         10.    In 2007, Reid was a highly successful broker when he executed an “Employment

Agreement” with a company called ICAP Capital Market LLC, n/k/a Intercapital Capital Markets

LLC (“ICAP”). As a broker with ICAP, Reid worked on the medium term “swap” desk and

oversaw up to five accounts.

         11.    Reflecting his stature in the industry, ICAP agreed to pay Reid a base salary of

$500,000; an incentive bonus based on his “Net Brokerage Revenue”; and a “one-time sign on

bonus in the amount of $500,000.” The term of the Employment Agreement was four years

beginning December 1, 2007 through and including November 30, 2011.



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         12.   In August 2010, Reid and ICAP entered into an Amendment to the Employment

Agreement (the “First Amendment”). The First Amendment extended Reid’s employment with

ICAP to November 30, 2013.

         13.   In May 2012, Reid and ICAP entered into a Second Amendment to the Employment

Agreement (the “Second Amendment”). The Second Amendment extended Reid’s employment

with ICAP to November 30, 2014, and also amended Reid’s compensation structure as follows:

               “BASE SALARY:

               Effective April 1, 2012 - $500,000 for each full year of the Term,
               provided that the Employee produces Net Brokerage Revenues (as
               defined below) of at least $500,000 during each consecutive six (6)
               month period during the Term. If the Employee fails to produce
               such revenues, then effective December 1, 2013, his total
               compensation (Base Salary, Incentive Bonus and all other monies
               received by the Employee from the Company) (“Total
               Compensation”) may be reduced immediately following such
               failure so that the ratio of Net Brokerage Revenue to Total
               Compensation is 2:1; provided, however that in no event shall
               Employee’s Total Compensation be less than $375,000 for the
               applicable year. The application of this ration will be reviewed at
               the Company’s discretion.

               “INCENTIVE BONUS:

               Effective April 1, 2012 – the Company shall also a pay to the
               Employee for each semi-annual period during the Term… or a
               portion thereof, an incentive bonus (“Incentive Bonus”) calculated
               as the follows: (a) for the period beginning April 1, 2012 and ending
               March 31, 2013, an amount equal to forty-five percent (45%) of
               Employee’s Net Brokerage Revenue (as defined below); and (b) for
               the period beginning April 1, 2013, through and including the end
               of the Term, an amount equal to fifty percent (50%) of Employee’s
               Net Brokerage Revenue, which amounts… shall be reduced by the
               Base Salary paid to Employee during the applicable bonus period.

The ICAP Investigations and Reid’s Unlawful Termination

         14.   In 2013, the United States Justice Department (the “Justice Department”) and the

Commodity Futures Trading Commission (the “CFTC”) began investigating certain of ICAP’s

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trading practices (the “ICAP Investigations”). Like other brokers, Reid retained personal counsel

(specifically, the law firm of Katten Muchin Rosenman LLP [the “Katten Firm”]), to represent

him in connection with these inquiries.

         15.   Reid cooperated fully in the ICAP Investigations, meeting on multiple occasions

with representatives from the Justice Department and the CFTC. However, Reid’s cooperation

did not sit well with ICAP and senior-level personnel. During depositions and interviews with the

Justice Department and the CFTC, Reid described ICAP’s trading practices and identified ICAP

executives who knew about and approved those practices.

         16.   When ICAP learned about Reid’s cooperative efforts, it demanded that Reid meet

with ICAP executives, even threatening “discipline, including termination, for failing to

cooperate.” By letter dated October 21, 2014, ICAP’s outside counsel informed the Katten Firm

that if “Mr. Reid does not meet with us within five (5) business days of the date of this letter, ICAP

will terminate his employment for cause”, supposedly for “violating company policies.”

         17.   The Katten Firm responded to these threats by letter dated October 24, 2014. In

that letter, the Katten Firm advised ICAP’s counsel that:

               your letter and demand for another interview of Mr. Reid… appear
               to be little more than a pretext for retaliation against him. In this
               regard, I note that 18 USC §1514A provides remedies where an
               employer discriminates against an employee for acting as a witness,
               providing information, or otherwise assisting a federal fraud
               investigation.

         18.   Nevertheless, four days later, Reid was summarily discharged by ICAP under the

guise of his supposed “failure to cooperate in an internal inquiry.” ICAP further informed Reid in

a letter dated November 3, 2014 that it was strictly enforcing the non-competition provisions in

the Employment Agreement. Under those provisions:




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                During the Term and for a period of 180 days following the later of
                the end of the Term or the last day of Employment hereunder or
                otherwise with the Company in any capacity and for any reason,
                Employee will not, in any manner, directly or indirectly, engage in
                a any business, in competition of the Company in which Employee
                was engaged directly or substantively during and portion of
                Employee’s employment at the Company (“competitive business”).

         19.    The consequences of ICAP’s directive was not only to prevent Reid from finding

other employment in the near term, but limiting his compensation to “1/12 of [his] annual Base

Salary per month during the period of 180 days from termination of Employee’s employment with

the Company.”

Reid’s Damages Resulting From ICAP’s Termination

         20.    ICAP’s unlawful termination of Reid caused him millions of dollars in damages.

First, the aggregate sum of “Net Brokerage Revenues” generated by Reid at the time he was

terminated was $847,349.14. Under the Second Amendment, Reid was entitled to half of this sum,

less his base salary, for a total of $340,341.00. ICAP’s unlawful termination deprived Reid of this

compensation.

         21.    Second, during the 180 days Reid was prohibited from securing employment in the

brokerage industry, he would have generated Net Brokerage Revenues of at least $1.27 million

based upon his prior trading activity. Half of that sum, less his base salary, totals approximately

$510,000. ICAP’s unlawful termination deprived Reid of this compensation as well.

         22.    Third, recognizing its obligation to compensate Reid’s counsel in connection with

the ICAP Investigations, ICAP paid the Katten Firm the attorneys’ fees and expenses incurred by

Reid prior to his termination. After his termination, however, ICAP cut-off those payments,

forcing Reid to personally pay the Katten Firm in connection with the ICAP Investigations. That




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sum totaled in excess of $70,000. Reid demanded that he be reimbursed this money and ICAP

refused.

         23.   Finally, after Reid was able to secure other employment in mid-2015, his

compensation paled in comparison to the compensation he earned during his tenure with ICAP.

Specifically, between 2009 and 2014 while employed at ICAP, Reid’s average yearly

compensation was approximately $2.2 million. In contrast, Reid’s average yearly compensation

with his new employer between 2015 and 2018 was approximately $742,000. Thus, Reid’s lost

earnings were approximately $1.45 million per year totaling in the aggregate $5.8 million. ICAP’s

unlawful termination deprived Reid of this compensation.

         24.   In total, ICAP’s retaliatory actions deprived Reid of approximately $6.7 million in

unpaid reimbursements and lost compensation. With unpaid interest since 2014, that sum exceeds

$8 million.

The Sack Firm

         25.   According to its website, the Sack Firm is “a premiere law firm located in New

York City concentrating exclusively in employment law and commercial litigation.” The firm

purports to represents “executives, managers and sales professionals” in lawsuits against their

employers.

         26.   On the Sack Firm’s website, Sack boasts about his active involvement in each

client’s case. Supposedly, Sack “live[s] and breathe[s] my cases and operate[s] under a personal

mantra: Each client is treated like they are my first, last and only client.” Sack also purports to

“help people in dire situations.” At the “end of a case”, he proclaims, “I know I have done

everything I could to right the wrongs.”




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         27.   Defendant Mui is supposedly Sack’s “protégé, a trial lawyer who joined the firm

after earning his courtroom stripes as a prosecutor in The Bronx District Attorneys’ Office.”

According to the Sack Firm’s website, “[o]ver the last two decades, Michael has built a formidable

reputation in the legal profession representing employees, executives and partners of all levels of

employment against the most reputable firms worldwide.”

Reid’s Retention of the Sack Firm

         28.   In the summer of 2014, Reid reached out to the Sack Firm about pursuing claims

against ICAP in connection with his wrongful termination.        After an initial phone call, Reid

emailed Sack on August 3, 2014, to say that he “would like to move forward with the attempt to

gain my compensation and legal fees from Icap if you deem the case viable.”

         29.   By email dated November 4, 2014, Reid reiterated his interest in retaining the Sack

Firm and told Sack he “hope[s] the statute of limitations is not 1 year.” That day, Sack advised

Reid that “[b]reach of contract is 6 years. I am on trial. Book a time to meet in my office in the

next several weeks.”

         30.   Reid then began corresponding with Defendant Mui. In December 2015, Mui asked

Reid to send him a timeline and documents relating to Reid’s employment with ICAP.

         31.   In January 2016, Reid asked Mui whether he had “reviewed the information I sent

you” and asked whether or how we should proceed.” By email dated January 14, 2016, Mui replied

that he was “almost done reviewing what you sent me” and suggested scheduling “a phone call for

next week to discuss.”

         32.   When Mui failed to respond to several follow up emails, Reid reached out to Sack.

On February 12, 2016, Reid told Sack he was “trying to move forward w the action against icap




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via Michael with no success” and asked Sack for “your position in regards to this business.” Sack

told Reid that he “[u]nderstood” and to “[g]ive me until next week.”

         33.    The next week, Sack assured Reid that “[w]e are working on filing” and

“suggest[ed] we sit down in the office next week.” On February 24, 2016, Reid met with Mui at

the Sack Firm’s office in New York. At the meeting, Mui re-confirmed that the Sack Firm would

pursue Reid’s claims against ICAP and informed Reid about the contingent fee the Sack Firm

would charge.

Defendants’ Lies and Delays Regarding the FINRA Arbitration

         34.    Over the next year and a half, Defendants inexcusably delayed filing an arbitration

proceeding on Reid’s behalf and lied to him about when the arbitration had been commenced. Two

days after their meeting on February 24, 2016, Mui told Reid he had reviewed the Employment

Agreement and was going to “put together a FINRA complaint.” Several weeks later, Reid asked

Mui whether there was “anything else u need from me at the moment?”. Mui replied: “Don’t need

anything else right now from you.”

         35.    Mui then began making excuses about his delays in providing Reid with a draft

complaint.     On April 19, 2016, Reid asked Mui whether he had “been able to make any

progress?...” Mui replied: “Yes. In the middle of depositions for the next couple of days. I’ll try

to have this ready for you to review after.”

         36.    On April 29, 2016, Reid asked Mui “[h]ow we getting on?” and are we “[a]ny

closer.” Mui replied: “Yes, getting there. Next week for sure.”

         37.    On May 9, 2016, Reid asked Mui “[w]here do we stand?” Mui replied: “I’m done

with the 1st draft. Gave some edits to my assistant to input and then will forward to you this week.”




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         38.     When no draft arrived, Reid asked Mui whether we can “please try to move this

along this week?” Mui responded: “Yes, she sent it back to me. I want to review before sending

to you.”

         39.     On May 23, 2016, Reid emailed Mui to say “[h]ate to be a nu[d]ge…but when we

going to push this along?” Mui replied that day: “This week.”

         40.     Three months after Mui told Reid he would “put together a FINRA complaint,”

Mui sent Reid a “first draft.” Over the next ten days, Reid supplied Mui with information regarding

his payments to the Katten Firm and commissions owed from ICAP.

         41.     Mui spent the next two months making excuses about ICAP’s “by-laws” so he

could “figure out the basis for an indemnification claim against ICAP.” When Reid told Mui he

was unsuccessful in getting the by-laws, Reid asked Mui on June 15, 2016: “What is the plan of

attack Michael…you still trying to get these bylaws?” Mui replied that he was “on trial this week”

and that he was having “Jane looking to see if she can come up with the bylaws.” The following

week, Mui told Reid he had “come up empty on the bylaws” and, again, on July 22, 2016, Mui

told Reid he “had no luck whatsoever finding the by laws and I assume you’ve had no luck either.”

Mui added that he would “amend the claim to reflect that its based on information and belief and

just finalize it.”

         42.     Several weeks went by when Reid emailed Mui to say: “U alive? Quit? Fired?”

Mui replied by making excuses about having “struck out with the by-laws” and told Reid: “Thk

we should get the ball rolling on this either way?”

         43.     Almost two months went by when Mui began falsely telling Reid that a FINRA

proceeding had been commenced. On September 26, 2016, Reid asked Mui “[w]hat happens

next,” to which Mui replied:



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               FINRA will process the claim. This typically takes them 2-3 weeks.
               Once they are done, they will serve the firm. The firm will have 60
               days to respond (but may ask for an extension). In the meantime,
               we will be sent arbitrator resumes for potential arbitrators and I will
               rank and strike them.

         44.   When Reid asked on October 6, 2016, whether Mui had “heard anything?”, Mui

replied:

               Nothing yet. It takes time for FINRA to process it. I’ll let you know
               as soon as I hear something.

         45.   On November 21, 2016, Mui informed Reid that he “spoke to [FINRA] early last

week” and that they “asked for additional copies of the claim so I had them prepared and sent in.”

Mui also sought to blame FINRA for the delay, telling Reid “[t]hese people suck at their jobs…”

         46.   The lies and false assurances continued into December 2016. On December 9,

2016, Mui told Reid that he “usually receive[s] some kind of letter from FINRA telling us of a due

date for their Answer.” Mui added that “[t]his doesn’t mean they havent [sic] been served with it

yet, just that I haven’t received FINRA’s normal communication about it yet.” In a separate email

that day, Mui told Reid that he had “confirmed that we’re fully submitted.” We’re waiting for

FINRA to send us potential arbitrator resumes and for the company’s answer to our claim.”

         47.   In early 2017, Reid asked Mui whether he had “[a]ny thoughts on our case.” Mui

advised Reid he would “call FINRA and find out what’s going on.”

         48.   On January 30, 2017, Mui told Reid he did not “control FINRA and they’re

competence.” He also told Reid that:

               I just got off the phone with FINRA. They’re completely
               incompetent and for the first time, said there was an issue with the
               paperwork. I’ve called numerous times on your case and they have
               never told me that there was an issue in the past. This happens all
               the time with them.




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               We will clear up the issue with them and I was assured that the
               delays will be over.

         49.   In a separate email that day, Mui told Reid to “[t]rust me, I have every incentive to

move this as quickly as possible.” He also advised Reid “[t]hey’re idiots over there but I will make

sure I take care of this personally.”

         50.   On April 7, 2017, Mui continued to cast aspersions on FINRA, telling Reid

“[t]hey’re idiots over there.” He also assured Reid he had “made an appointment for Tuesday to

meet with a case administrator and for me to watch them correctly process it.”

         51.   On May 22, 2017, Reid asked Mui whether “we are making some progress…” Mui

responded by again lying to Reid, saying he had “filed it last week with FINRA personally.”

         52.   In fact, Defendants did not file a Statement of Claim with FINRA until July 2017,

months after Mui had repeatedly and falsely assured Reid the proceeding had commenced. Dated

July 10, 2017, the Statement of Claim was signed by Defendant Sack. Sack also signed the

“Uniform Submission Agreement” dated July 12, 2017.

         53.   On August 10, 2017, FINRA advised Sack that “Mr. Reid’s claim is not eligible for

arbitration in FINRA’s forum.” Upon hearing this news, Mui spent months assuring Reid he was

communicating with FINRA about its decision and that he had “gone above the case administrator

now and [was] speaking with the Director of FINRA.” Mui also blamed FINRA for the mix-up,

telling Reid that FINRA is “full of morons” and “full of idiots.”

         54.   On November 13, 2017, Mui informed Reid he was “scheduled to speak with the

Director of FINRA this week” and that Reid should “[s]tand by.” Two weeks later, Mui told Reid

that he “spoke to the Director of FINRA and he’s supposed to follow up with me.” Mui also agreed

with Reid that the situation was “[i]nsane and incredibly frustrating” and that “I’m tired of waiting

on FINRA also.”

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Defendants’ Misrepresentations Regarding the Supposed “State Court” Proceeding

         55.   After lying to Reid about the FINRA arbitration, Defendants concocted a bogus

story about a “state court” proceeding they never commenced. Specifically, in an email dated

December 21, 2017, Mui told Reid that:

               Waiting on finra [sic] is getting us nowhere. Let’s discus filing in
               court. You around for a call next Wednesday or Thursday?

         56.   In January 2018, Reid asked Mui whether there was “[a]ny progress?” Mui

responded that he “filed [a state court complaint] in court last week and will send it to the process

server for service.” This was a lie.

         57.   On February 20, 2018, Reid told Mui he had “not heard from you” and was “braced

for a setback….” Mui replied: “No setback. I’ll follow up with the process server, it should have

been served by now or will be imminently.” These were also lies.

         58.   On March 13, 2018, Reid asked whether there was “[a]ny movement or progress

on the suit?” Mui replied: “Yes. They were served with the complaint. I will be filing a request

for a preliminary conference with the judge next week.” These statements were also lies, as no

complaint was ever filed and no request for a preliminary conference was ever made.

         59.   On September 14, 2018, when Reid inquired whether there “is any news related to

the case?”, Mui advised Reid that “[o]ur court date was rescheduled because it was improperly put

on during a Jewish holiday.” He also told Reid that defendants were “still delinquent with

discovery” and that he would ask for “monetary sanctions” and “have the court compel them to

cooperate with discovery.” In fact, there was no “court date” scheduled; no discovery was ever

served; and no motion for sanctions was ever made.

         60.   Several months went by before Mui advised Reid that “[w]e have a court date later

this month” where he would ask the judge for sanctions because “[t]hey have not cooperated at all

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in discovery.” Mui then invented a “court conference” he supposedly attended on June 25, 2019,

advising Reid that:

               I attended the court conference this morning. The other side sent a
               coverage attorney who was not prepared to discuss anything about
               the case. The court attorney was disappointed with their lack of
               cooperation and asked me if we could resolve the case. I told her
               that we would welcome any good faith opportunity to resolve this
               but that we needed a dance partner on the dance floor to make that
               happen. She said she will be reaching out to the other side to gauge
               their interest and to see whether or not a settlement conference at
               this time makes sense. Hopefully this is a positive development and
               we can gain some momentum.

         61.   Reid was understandably buoyed by the prospect of settlement and Mui’s

references to “positive development[s]” and “gain[ing] momentum” (“Wow...a light!!!” Reid

replied). However, none of what Mui told Reid actually happened.

         62.   On February 4, 2019, Reid learned that Defendants had never filed a Complaint on

his behalf in state court as they had represented for over two years. Reid further learned that

Defendants had lied about the FINRA arbitration; lied about the supposed delays associated with

the FINRA arbitration; and lied about discovery requests they had supposedly served and a court

conference they supposedly attended.       Two days later, Reid discharged Defendants as his

attorneys.

                                             COUNT I

                                              FRAUD

         63.   Plaintiff repeats and realleges the foregoing as if fully set forth herein.

         64.   As alleged above, Defendants made representations to Plaintiff as to material facts

that were false and misleading. These false and misleading representations included: (i) the status

and timing of the filing of Plaintiff’s Statement of Claim before FINRA; (ii) the supposed

explanations for the delays in FINRA’s processing of Plaintiff’s Statement of Claim; (iii) the

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supposed efforts undertaken by Defendants to remedy the delays associated with the FINRA

proceeding; (iv) the filing of a purported complaint in New York state court on Reid’s behalf; and

(v) Defendants’ filing of discovery requests, requests for sanctions and attendance at court hearings

in connection with the fictitious state court proceeding.

         65.    By virtue of their experience and positions, Defendants knew or recklessly

disregarded that the misrepresentations described in this Complaint were materially false and

misleading.

         66.    Defendants’ misrepresentations were made for the purpose of inducing Plaintiff to

rely on them.

         67.    Plaintiff, who is not an attorney and has no legal training, had a right to rely and

did rightfully rely on the representations of his attorneys, who purport to be highly experienced,

respected and responsible lawyers in the field of employment law.

         68.    In addition, Plaintiff made repeated inquiries and exercised due diligence with

regard to the status of Defendants’ efforts on his behalf. These inquiries were repeatedly answered

with assurances and promises from Defendants that, among other things, they: (i) were in regular

contact with FINRA officials and would remedy any errors and delays; (ii) were “personally”

taking care of ministerial and other procedural issues supposedly taking place in connection with

the FINRA proceeding; (iii) had filed the necessary papers and documents when, in fact, they had

not; and (iv) were detained from attending to Plaintiff’s case because of illness or work on other

matters. Thus, Plaintiff’s reliance on Defendants’ representations was fully justified.

         69.    Plaintiff was unaware of Defendants’ false and misleading representations.

         70.    By virtue of Defendants’ false and misleading representations, Plaintiff has

sustained loss, actual damage and injury.



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                                             COUNT II

                            NEGLIGENT MISREPRESENTATION

         71.   Plaintiff repeats and realleges the foregoing as is fully set forth herein.

         72.   As his attorneys, Defendants had a legal and ethical duty to give correct information

to Plaintiff regarding their efforts to initiate and prosecute claims on his behalf.

         73.   In complete disregard of these obligations, Defendants negligently made

representations to Plaintiff that were materially false or misleading. These misrepresentations

included: (i) the status and timing of the filing of Plaintiff’s Statement of Claim before FINRA;

(ii) the supposed explanations for the delays in FINRA’s processing of Plaintiff’s claim; (iii) the

supposed efforts undertaken by Defendants to remedy the delays associated with the FINRA

proceeding; (iv) the filing of a purported complaint in New York state court on Reid’s behalf; and

(v) Defendants’ filing of discovery requests, requests for sanctions and attendance at court hearings

in connection with the fictitious state court proceeding.

         74.   The information supplied to Plaintiff was known by Defendants to be desired by

Plaintiff for a serious purpose and intended by Defendants for Plaintiff to rely and act upon it.

         75.   Plaintiff reasonably relied on these misrepresentations to his detriment.

         76.   By virtue of the foregoing, Plaintiff has sustained loss, actual damage and injury.

                                             COUNT III

                                    LEGAL MALPRACTICE

         77.   Plaintiff repeats and realleges the foregoing as if fully set forth herein.

         78.   Plaintiff retained Defendants to act as his attorneys and, thus, there was an attorney-

client relationship between Plaintiff and Defendants.




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         79.     As his attorneys, Defendants owed Plaintiff legal and ethical duties to, among other

things: (i) provide competent representation to Plaintiff; (ii) act with reasonable diligence and

promptness in representing Plaintiff; (iii) reasonably consult with Plaintiff about the means by

which Plaintiff’s objectives were to be accomplished; (iv) keep Plaintiff reasonably informed

about his matter; (v) exercise independent professional judgment; and (vi) provide candid and

honest advice.

         80.     As demonstrated by the foregoing allegations, Defendants repeatedly violated these

duties and obligations to Plaintiff and failed to exercise the care, skill and diligence commonly

possessed and exercised by members of the legal profession.

         81.     Defendants’ negligence and malpractice were the proximate cause of loss, actual

damage and injury sustained by Plaintiff, including: (i) the inability to assert certain claims that

are now barred by the statutes of limitations; (ii) the inability to secure certain relief, such as

reinstatement, because of the statute of limitations; and (iii) lost interest on the millions of dollars

Plaintiff is owed by virtue of his wrongful termination.

                                              COUNT IV

                                 BREACH OF FIDUCIARY DUTY

         82.     Plaintiff repeats and realleges the foregoing as if fully set forth herein.

         83.     As his attorneys, Defendants owed fiduciary duties to Plaintiff of care, candor,

loyalty and good faith.

         84.     As demonstrated by the foregoing allegations, Defendants breached these fiduciary

duties by, among other things: (i) misrepresenting material facts to Plaintiff about the status of his

case; (ii) failing to pursue his claims with care and due diligence; and (iii) concealing material

information about his claims and the work they were purportedly performing on his behalf.



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         85.   By virtue of Defendants’ breaches of fiduciary duty, Plaintiff has sustained, loss,

actual damage and injury.

                                            COUNT V

                                    JUDICIARY LAW § 487

         86.   Plaintiff repeats and realleges the foregoing as if fully set forth herein.

         87.   Judiciary Law § 487 provides in relevant part that an attorney who is “guilty of

deceit or collusion, or consent to any deceit or collusion, with intent to deceive the court or any

party … [i]s guilty of a misdemeanor , and … he [or she] forfeits to the party injured treble damages

to be recovered in a civil action. A violation of Judiciary Law § 487 may be established “either

by the defendant’s alleged deceit or by an alleged chronic, extreme pattern of legal delinquency

by the defendant.”

         88.   As demonstrated by the foregoing allegations, Defendants engaged deceit and

collusion, and consent to deceit or collusion, with intent to deceive Plaintiff Reid. Through their

lies, delays and excuses to Plaintiff over a period of years, Defendants also engaged in chronic,

extreme pattern of legal delinquency.

         89.   Based on the foregoing, Defendants are liable to Plaintiff for treble damages.

                                            COUNT VI

                         INFLICTION OF EMOTIONAL DISTRESS

         90.   Plaintiff repeats and realleges the foregoing as if fully set forth herein.

         91.   Lawyers are fiduciaries who are obligated to be honest, candid and straightforward

with their clients. Thus, lawyers are prohibited from engaging in conduct involving dishonesty,

fraud, deceit or misrepresentation. By their repeated lies, deceptions and bogus excuses to Plaintiff

over a period of many years, Defendants engaged in extreme and outrageous conduct. That



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conduct was so outrageous in character, and so extreme in degree, as to go beyond all possible

bounds of decency, and is utterly intolerable in a civilized community.

         92.   Defendants’ conduct was intended to cause, or in disregard of a substantial

probability of causing, severe emotional distress.

         93.   Plaintiff has suffered, and will continue to suffer, severe emotional distress as a

result of Defendants’ conduct, including marital tension, sleepless nights and continuing stress and

anxiety. That distress has only been exacerbated after Plaintiff recently learned that the promises,

assurances and representations of Defendants -- his attorneys in whom he placed his utmost trust

and confidence -- were blatant falsehoods.

         94.   There is a direct causal connection between Defendants’ conduct and Plaintiff’s

loss, actual damages and injury.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests judgment against Defendants for:

               A. Actual and compensatory damages;

               B. Punitive damages;

               C. Treble damages;

               D. Pre- and post-judgment interest;

               E. Attorneys’ fees and costs; and

               F. Such other and further relief as this Court deems just and proper.




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                                        DEMAND FOR JURY


          Plaintiff demands trial by jury on all issues.


Dated: March 2, 2020


                                                           Mclaughlin & stern, llp


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{Complaint.!}                                       20
